Case 1:19-cv-00487-SM Document 7-11 Filed 06/17/19 Page 1 of 6

                      EXHIBIT K
Case 1:19-cv-00487-SM Document 7-11 Filed 06/17/19 Page 2 of 6

                      EXHIBIT K
Case 1:19-cv-00487-SM Document 7-11 Filed 06/17/19 Page 3 of 6

                      EXHIBIT K
Case 1:19-cv-00487-SM Document 7-11 Filed 06/17/19 Page 4 of 6

                      EXHIBIT K
Case 1:19-cv-00487-SM Document 7-11 Filed 06/17/19 Page 5 of 6

                      EXHIBIT K
Case 1:19-cv-00487-SM Document 7-11 Filed 06/17/19 Page 6 of 6

                      EXHIBIT K
